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 1   PETER C. McMAHON (SBN. 161841)
     MCMAHON SEREPCA LLP
 2   1900 S. Norfolk Street, Suite 350
     San Mateo, California 94403
 3   Tel: 650-637-0600
     Fax: 650-637-0700
 4   Email: peter@msllp.com
 5   Attorneys for Defendants
     OURA HEALTH OY, OURARING INC.
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 7
 8                             UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                SAN FRANCISCO DIVISION
11
                                                    CASE NO.
12   BREES COMPANY, INC.,
                 Plaintiff,                          OURA HEALTH OY’S NOTICE OF
13
                                                     REMOVAL OF ACTION UNDER 28
14         v.                                        U.S.C. § 1441(b) DIVERSITY
15   OURA HEALTH OY, OURA RING, INC. and              State Court Complaint Filed: September
     DOES 1 through 10, inclusive,                    23, 2024
16
                 Defendants.
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 1   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2          PLEASE TAKE NOTCE that defendant Oura Health OY (“Oura Health”) hereby
 3   removes to this Court the state court action described below.
 4          1.       On September 23, 2024, an action was commenced in the Superior Court of the
 5   State of California in and for the City and County of San Francisco, entitled BREES COMPANY,
 6   INC., Plaintiffs v. OURA HEALTH OY, OURA RING, INC., and DOES 1 through 10, inclusive,
 7   Defendants, as Case No. CGC-24-618303 (“Complaint”). A copy of the Complaint (and the
 8   accompanying documents) served on defendant is attached hereto as Exhibit “A.”
 9          2.       The first date upon which defendant Oura Health received a copy of said
10   complaint was November 14, 2024, when, pursuant to Finnish law and requisite international
11   treaties, Oura Health was served with a copy of the said complaint and a summons from the said
12   state court. A copy of the summons is attached hereto as Exhibit “B.”
13          3.       Jurisdiction: This is a civil action of which this Court has original jurisdiction
14   under 28 U.S.C. § 1332, and is one which may be removed to this Court by defendants pursuant
15   to the provisions of 28 U.S.C. § 11441(b) in that at all times relevant to the Complaint and this
16   Removal the matter is a civil action between citizens of different states and the matter in
17   controversy exceeds the sum of $75,000, exclusive of interest because the plaintiff in his
18   complaint claims sums in excess of $750,000. (See Complaint, §§ 11, 33 – 35, 44 – 45, 51 – 52,
19   and 58).
20          4.       Jurisdiction: Complete diversity of citizenship exists in that at all times relevant:
21   Plaintiff, Brees Company, Inc., was/is a corporation incorporated under the laws of the State of
22   Ohio, having its principal place of business on Cleveland, Ohio; and defendant Oura Health OY
23   was/is a corporation incorporated under the laws of the foreign country of Finland, having its
24   principal place of business in Oulu, Finland.
25          5.       Sham Defendant: The Complaint herein also names as a defendant Ouraring Inc.
26   (erroneously sued as “Oura Ring, Inc.”), which is a corporation incorporated under the laws of
27   the State of Delaware, having its principal place of business in San Francisco, California.
28   However, the citizenship of said defendant should be disregarded for purposes of determining


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 1   jurisdiction under 28 U.S.C. § 1332 and 28 U.S.C. § 1441(b) on the ground that Ouraring was
 2   joined improperly and there is no basis under any theory for recovery against Ouraring. Indeed,
 3   with regard to the Complaint’s first two causes of action for (1) Breach of Contract between
 4   Plaintiff and Oura Health; and (2) Breach of the Implied Covenant of Good Faith and Fair
 5   Dealing, these two causes of action pertain to an alleged Contract, which attached to the
 6   Complaint and incorporated therein, which is executed between Plaintiff and Oura Health OY
 7   only. See Complaint, Exhibit 1. Ouraring is not a signatory on the alleged contract, and thus,
 8   there is no possibility of liability to Ouraring. In addition, the Res at bar in the Complaint is
 9   Oura Health’s Common Stock – not Ouraring’s. See Complaint, §§ 33 -35, and 42 - 45.
10          6.      With regard to the Third Cause of Action, Fraud, the Complaint incorporates by
11   reference the first 27 paragraphs of the Complaint, including Exhibit 1, and thus, is similarly
12   precluded from asserting “fraud” against Ouraring. In addition, Plaintiff’s allegations of “fraud”
13   do not state a claim upon which relief could be granted because the allegations are insufficient as
14   a matter of law to establish liability against defendant Ouraring because the allegations fail to
15   assert necessary detail under California law that Ouraring made any false representations. See
16   Committee on Children’s Television, Inc. v. General Foods Corp., 35 Cal.3d. 197 (1983).
17   Indeed, Plaintiff’s allegations (i) “defendants’ board of directors had approved Harpeet Singh
18   Rai’s execution of the Option”, and (ii) “Defendants’ board of directors approved the execution
19   of the Option” are sham allegations and meritless in that Ouraring’s board of directors would not
20   have to approve its parent company’s issuance of the parent company’s own common stock. See
21   e.g., Power Integrations, Inc. v. Fairchild Semiconductor Intern., Inc., 233 F.R.D. 143 (D. Del.
22   2005) (“A subsidiary, by definition, does not control its parent corporation.”).
23          7.      With regard to the Fourth Cause of Action, Negligent Representation, the
24   Complaint incorporates by reference all of the paragraphs of the Complaint, including Exhibit 1,
25   and thus, is similarly precluded from asserting liability against Ouraring.
26          8.      Divisional Assignment: Pursuant to Local Rules of Court 3-5(b) and 3-2(c) & (d),
27   defendant has captioned this matter for removal to this division of the Court because Plaintiff
28   filed his Complaint in the Superior Court of the State of California in and for the City and


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 1   County of San Francisco, and defendant Ouraring’s principal place of business is San Francisco,
 2   California.
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     Dated: November 27, 2024
 4
                                                                /s/ Peter C. McMahon
 5                                                              Peter C. McMahon, Esq.
                                                                MCMAHON SEREPCA LLP
 6                                                              Attorneys for Defendants
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                                                      EXHIBIT B
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